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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                     :       Case No:
                                              :
               v.                             :       VIOLATIONS:
                                              :
 JOSHUA RYAN DALE,                            :       18 U.S.C. § 1361
                                              :       (Destruction of Government Property)
               Defendant.                     :
                                              :       18 U.S.C. § 1751(a)(1)
                                              :       (Entering and Remaining in a Restricted
                                              :       Building or Grounds)
                                              :
                                              :       18 U.S.C. § 1752(a)(2)
                                              :       (Disorderly and Disruptive Conduct in a
                                              :       Restricted Building or Grounds)
                                              :
                                              :       18 U.S.C. § 1752(a)(4)
                                              :       (Act of Physical Violence in a Restricted
                                              :       Building or Grounds)
                                              :
                                              :       40 U.S.C. § 5104(e)(2)(D)
                                              :       (Disorderly or Disruptive Conduct in the
                                              :       Capitol Grounds or Building )
                                              :
                                              :       40 U.S.C. § 5104(e)(2)(G)
                                              :       (Parading, Demonstrating, or Picketing in a
                                              :       Capitol Building )

              AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                          AND ARREST WARRANT

       I, Jason Smith, being first duly sworn, hereby depose and state as follows:

                                 PURPOSE OF AFFIDAVIT

       1.     I make this affidavit in support of an application for an arrest warrant for JOSHUA

RYAN DALE.

                                  AGENT BACKGROUND

       2.     Your affiant,              , is a deputy with the New Hanover County Sheriff’s

Office and currently holds the rank of Detective. Since 2008 I have been a Task Force Officer

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(TFO) assigned to the Charlotte Division, Wilmington RA. In my duties as a TFO, I am assigned

to the Joint Terrorism Task Force (JTTF). Currently, I am tasked with investigating criminal

activity in and around the Wilmington RA area of responsibility and was so assigned on January

6, 2021. As a TFO, I am authorized by law or by a government agency to engage in or supervise

the prevention, detection, investigation, or prosecution of a violation of Federal criminal laws.

                                        BACKGROUND

       3.      The United States Capitol is secured 24 hours a day by United States Capitol Police

(“USCP”). Restrictions around the United States Capitol include permanent and temporary

security barriers and posts manned by USCP. Only authorized people with appropriate

identification are allowed access inside the United States Capitol. On January 6, 2021, the exterior

plaza of the United States Capitol was also closed to members of the public.

       4.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, located at First Street SE, in Washington, D. C. During the joint session,

elected members of the United States House of Representatives and Senate met in the United States

Capitol to certify the vote count of the Electoral College for the 2020 Presidential Election, which

took place on November 3, 2020. The joint session began at approximately 1:00 p.m. Shortly

thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate chambers to

resolve a particular objection. Vice President Michael R. Pence was present and presiding, first in

the joint session, and then in the Senate chamber.

       5.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the United

States Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the United States Capitol building and USCP were present, attempting to keep the



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crowd away from the Capitol building and the proceedings underway inside.

       6.      At such time, the certification proceedings were underway, the exterior doors and

windows of the Capitol were locked or otherwise secured. Members of the USCP attempted to

maintain order and keep the crowd from entering the Capitol; however, around 2:00 p.m.,

individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows and by

assaulting members of the USCP, as others in the crowd encouraged and assisted those acts.

       7.      Shortly thereafter, at approximately 2:20 p.m., members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session of the

United States Congress was effectively suspended until shortly after 8:00 p.m. Vice President

Pence remained in the United States Capitol from the time he was evacuated from the Senate

Chamber until the sessions resumed.

       8.      During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the United States Capitol

building without authority to be there.

              STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

       9.      A concerned citizen (CC 1) supplied a tip to the FBI public tip line stating that they

saw pictures, statements, and videos that JOSHUA RYAN DALE posted to his Facebook account

(josh.dale.1694, UID:100056077471282) confirming he was inside the United States Capitol

during the insurrection on January 6, 2021.

       10.     CC1 stated they have personally known DALE for approximately 3-4 years from

living in Wilmington, NC while CC1 attended school. CC1 stated they have been Facebook friends



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with DALE for approximately the same amount of time, which gave them access to DALE’s

postings. CC1 gave the following statement regarding DALE’s Facebook activities: “A Facebook

friend of mine posted several pictures of himself alongside/participating in the riots at the US

Capital Building on January 6th, 2021. One picture he posted, shows himself specifically inside

the US Capital Building at the time of the rioters entering the building.”

       11.     After receiving information from CC1, to include links to DALE’s Facebook

account that were publicly accessible, your affiant was able to obtain North Carolina Department

of Motor Vehicle (NCDMV) driver photos and personal information, which assisted in confirming

the identity of DALE.

       12.     Your affiant called DALE’s employer (Employer) to confirm DALE was not at

work on January 6, 2021. During a brief telephone interview on the morning of January 18, 2021,

Employer confirmed DALE was his employee and was not at work between January 5-7, 2021.

During the telephone conversation, Employer stated he had received several text messages from

DALE the night of January 6 or the next day, after DALE had entered the U.S. Capitol building,

with pictures that appeared to be captured from a TV news report showing DALE in and around

the U.S. Capitol on January 6, 2021. According to Employer, in the text messages, DALE placed

a white circle around himself in some of the photos to point out it was him. Employer supplied the

above-mentioned photos to your affiant via email. The text message photos received from

Employer are below:




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             Figure 3 (DALE, identified in white by himself, inside the U.S. Capitol)
       13.     JOSHUA RYAN DALE was contacted by your affiant via telephone and agreed to

an in-person interview at the FBI office in Wilmington, NC. At approximately 4:15pm on January

18, 2021, DALE met with your affiant and TFO William Craig (retired). After being advised of

the identities of the interviewers and the nature of the interview, DALE agreed to continue the

interview.

       14.     Before the interview began, DALE was advised that he was not under arrest, did

not have to talk to the interviewers, and could stop talking at any time. The door to the interview

room was left open and DALE was advised the interview was being digitally recorded. During the

interview, DALE consented to the search of his Samsung Galaxy A51 cell phone. An FD-941,

Consent to Search Form, was executed and signed.




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       15.     DALE stated he traveled to the “Stop the Steal” rally with five other individuals.

DALE stated they traveled to Washington D.C. on the afternoon of January 5, 2021, and stayed

the night in a hotel. DALE could not recall where the hotel was or the name.

       16.     On the morning of January 6, 2021, DALE stated they left the hotel and went to

listen to the speeches at the rally in D.C. DALE stated the six of them stayed together while

listening to the speeches and did not go with any other parties or groups. DALE explained that

once the speeches were over, they moved with the crowd towards the U.S. Capitol building. At

some point prior to going up the Capitol steps, DALE stated, he was separated from his

companions.

       17.     DALE initially stated he did not enter the U.S. Capitol building. DALE was warned

again about lying to a federal agent and the potential consequence that may bring. DALE was

presented with the photos supplied by Employer and immediately recanted his original story.

       18.     DALE admitted to entering the U.S. Capitol building and confirmed it was him in

the photos he sent to Employer. DALE described his clothing that day as a red overcoat (which

appeared to be a hoodie on video), blue jeans, Sperry or Vans shoes, US flag mask/bandana around

his face, a Trump hat while outside and later, a Carhartt beanie hat when he was inside. DALE

stated he remained inside the building for approximately ten minutes before exiting through a side

door. DALE stated he did not touch anything and did not damage property.

       19.     Results for a search of DALE on U.S. Capitol Police security footage depicting the

inside of the Capitol Building on January 6were positive. DALE is seen inside the U.S. Capitol




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building wearing a black beanie hat, US flag mask/bandana around his face, red or maroon hooded

sweatshirt, blue jeans and black shoes. See Image 4.




             Figure 4 (DALE entering the U.S. Capitol building Senate Wing Door)
       20.     After entering the Capitol Building, DALE turned to his right and traveled south

toward the Crypt. He returned a few minutes later to the Senate Wing Door hallway. After

returning, DALE and another unidentified rioter picked up an historical marker and used it as a

battering ram against an interior door of the Capitol. See Images 5-6. Your Affiant has reviewed

video of DALE’s use of the marker and a loud bang can be heard when the marker makes contact

with the door. It appears that DALE and the unidentified rioter attempt to break the door and

damage the historical marker in the process. The value of the marker is greater than $1.00.




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       21.     Shortly after interacting with the marker, DALE made his way north and east within

the Capitol Building and exited through the Senate Carriage Door on the east side of the Capitol.




               Figure 7 (DALE exiting U.S. Capitol building Senate carriage door)
                                         CONCLUSION

       22.     Based on the foregoing, your Affiant submits that there is probable cause to believe

that JOSHUA RYAN DALE violated:

       a.      18 U.S.C. § 1752(a)(1), (2), and (4), which makes it a crime to (1) knowingly enter

or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,

and with intent to impede or disrupt the orderly conduct of Government business or official

functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted

building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct

of Government business or official functions; and (4) knowingly engages in any act of physical

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violence against any person or property in any restricted building or grounds; or attempts or

conspires to do so. For pm-poses of Section 1752 of Title 18, a "restricted building" includes a

posted, cordoned off, or othe1wise restricted area of a building or grounds where the President or

other person protected by the Secret Service, including the Vice President, is or will be temporarily

visiting; or any building or grounds so restricted in conjunction with an event designated as a

special event of national significance;

       b.         40 U.S.C. § 5104(e)(2), (D) and (F) (Disorderly or Dismptive Conduct in the

Capitol Grounds or Building and Act of Physical Violence in the Capitol Grounds or Building),

which makes it a crime to willfully and knowingly (D) utter loud, threatening, or abusive language,

or engage in disorderly or dismptive conduct, at any place in the Grounds or in any of the Capitol

Buildings with the intent to impede, dismpt, or disturb the orderly conduct of a session of Congress

or either House of Congress, or the orderly conduct in that building of a hearing before, or any

deliberations of, a committee of Congress or either House of Congress and (G) parade,

demonstrate, or picket in any of the Capitol Buildings; and

       c.         18 U.S.C. § 1361, by willfully injming or depredating of any property of the United

States, or attempting to do so.




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this       22   day of March 2024.



                                                       G. Michael Harvey,
                                                       U.S. MAGISTRATE JUDGE




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